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                             Exhibit A
DocuSign Envelope ID: 3C611985-2103-44F3-A119-9F95152385B1
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                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF VIRGINIA
                                                ALEXANDRIA DIVISION


             UNITED STATES, et al.,
                                                                     No. 1:23-cv-00108-LMB-JFA
                                       Plaintiffs,
                                                                     DECLARATION OF LAURA
                     v.                                              SONNENFELD IN SUPPORT OF NON-
                                                                     PARTY THE NEW YORK TIMES
             GOOGLE LLC,                                             COMPANY’S MEMORANDUM IN
                                                                     SUPPORT OF PLAINTIFFS’ MOTION
                                       Defendant.                    TO SEAL



             I, Laura Sonnenfeld, declare as follows:

                     1.       I am an employee of The New York Times Company (the “Times”).                  My

             position/title is Senior Vice President, Sales Operations. I have personal knowledge of all facts

             stated within this Declaration.

                     2.       The Times is a non-party to the above-captioned litigation. The Times received a

             non-party subpoena from Defendant on March 31, 2023. In response, The Times made a

             production of documents and data to Defendant.

                     3.       I am personally familiar with the documents produced to Defendant that are

             referenced below. As I describe more fully below, portions of the documents contain information

             that I consider to be highly commercially and competitively sensitive.

                     4.       The Times takes significant precautions to ensure that this information is not made

             public, and the executives and employees who have access to it—myself included—are entrusted

             to keep this information confidential. To protect confidential business information and sensitive

             customer information and prevent inadvertent disclosure of such information to others, The Times

             has internal policies including the following: policies against the disclosure of confidential

             information;     training of employees          regarding safeguarding confidential    information;

             confidentiality and non-disclosure agreements with vendors and other partners; and a policy
             regarding document retention and destruction.
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                      5.      The public disclosure of highly commercially and competitively sensitive

             information would cause The Times significant competitive harm. Such information, if made

             public, could be used by our competitors to derive insights about our business operations and

             strategies. Further, such information could be used by our current and prospective customers,

             vendors, and business partners to gain unfair advantages in negotiations and dealings with The

             Times.

             Plaintiffs’ Use of The Times’s Information in the Expert Report of Professor Robin S. Lee.

                      6.      I am aware that Plaintiffs have filed an Opposition to Google’s Motion to Exclude
             Opinion Testimony of Prof. Robin S. Lee (the “Opposition”) (ECF No. 660), which attaches as

             Exhibit A the Expert Report of Robin S. Lee, PhD (ECF No. 660-1 in public, redacted form, ECF

             No. 663-1 in sealed, unredacted form) (“Lee Expert Report”), which includes contains certain

             information produced by The Times. I have personally reviewed the information. As described

             below, it contains non-public, commercially and competitively sensitive information.

                      7.      The information in footnote 450 to paragraph 314 of the Lee Expert Report contains

             information about the financial performance of The Times’s advertising business, including its

             pricing for direct and indirect display advertising. The Times does not make this information

             public. I consider this information to be highly commercially and competitively sensitive. If it

             became public, it could be used by The Times’s competitors to derive competitive insights about

             our business operations and strategies. Further, it could be used by current and prospective
             customers, vendors, and business partners to gain unfair advantages in negotiations and dealings

             with The Times.

                      I, Laura Sonnenfeld, declare under penalty of perjury under the laws of the United States

             that the foregoing is true and correct and that this declaration was executed on June 14, 2024.


                                                             Signature:

                                                             Printed Name:



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